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                          UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

DJVAN A. CARTER,                               )
                                               )
                    Plaintiff,                 )
                                               )
v.                                             )       1:24-cv-00187-SDN
                                               )
MAINE STATE POLICE, and                        )
BLAINE SILK,                                   )
                                               )
                    Defendants.

                                          ORDER

       Plaintiff Djvan A. Carter sued the Maine State Police (“MSP”) and Blaine Silk, an

officer of the MSP, for violating Mr. Carter’s constitutional rights and using unnecessary

deadly force when Mr. Silk shot Mr. Carter during an arrest. A state grand jury indicted

Mr. Carter for his conduct during that incident. Mr. Carter seeks a judicial declaration

that Mr. Silk used unnecessary force during the arrest, injunctive relief ordering the MSP

to fire Mr. Silk and ordering Mr. Silk to resign, and compensatory and punitive damages.

       Both the MSP and Mr. Silk (in his official capacity) are protected by Maine’s

Eleventh Amendment immunity. Therefore, Mr. Carter’s claims against the MSP and his

official-capacity claims against Mr. Silk must be dismissed. Because Mr. Carter’s state

court criminal case is still pending—he was found guilty after a jury trial but has not been

sentenced—the Court abstains from resolving Mr. Carter’s remaining individual-capacity

claims against Mr. Silk and stays the case.




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                                                  FACTS1

        On May 26, 2023, Blaine Silk of the MSP arrived at the scene of an incident

involving Mr. Carter. Mr. Silk did not issue any verbal warning or command to Mr. Carter.

Less than one minute after arriving on the scene, Mr. Silk shot at Mr. Carter seven times.

One fragment of a .45 caliber bullet struck Mr. Carter in the back, breaking two of Mr.

Carter’s ribs. A doctor who later evaluated Mr. Carter in the emergency department

described Mr. Carter as having a “high probability of imminent or life-threatening

deterioration due to [the] gunshot wound.” ECF No. 1 at 4. The bullet fragment and other

shrapnel remain lodged in Mr. Carter’s back. Mr. Carter suffers from post-traumatic

stress disorder and anxiety since being shot.

                                     PROCEDURAL HISTORY

        Mr. Carter filed his Complaint on April 17, 2024.2 ECF No. 1. He moved for

appointment of counsel, which the Magistrate Judge denied. ECF Nos. 3, 5. Mr. Carter

objected, and the Court overruled his objection. ECF Nos. 8, 11. On August 2, 2024,




1 I draw these facts from “the complaint, documents attached to it, and documents expressly incorporated

into it.” Foley v. Wells Fargo Bank, N.A., 772 F.3d 63, 72 (1st Cir. 2014). I take those facts as true and draw
all reasonable inferences from them. Alston v. Spiegel, 988 F.3d 564, 571 (1st Cir. 2021). Mr. Carter attached
to his Complaint a letter describing the incident written by the Maine Attorney General, which the Court
considers. Freeman v. Town of Hudson, 714 F.3d 29, 35 (1st Cir.2013).
Complaints filed pro se, such as this one, must “‘be liberally construed’ . . . and ‘a pro se complaint, however
inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by lawyers.’”
Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)). That broad
solicitude toward unrepresented parties, however, “does not require [the Court] to conjure up unpled
allegations,” Viera v. De Souza, 22 F.4th 304, 311 (1st Cir. 2022) (quoting McDonald v. Hall, 610 F.2d 16,
19 (1st Cir. 1979)), nor does it permit the Court to “rewrite a petition to include claims that were never
presented,” id. (quoting Barnett v. Hargett, 174 F.3d 1128, 1132 (10th Cir. 1999)).
2 The Court received Mr. Carter’s Complaint on May 21, 2024. Because Mr. Carter was in custody in the

Penobscot County Jail when he filed his Complaint, the Court considers his Complaint filed on the date of
mailing. Casanova v. Dubois, 304 F.3d 75, 78–79 (1st Cir. 2002) (adopting mailbox rule for prisoner
complaints).

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Defendants moved to dismiss Mr. Carter’s Complaint for failure to state a claim and lack

of jurisdiction. ECF No. 13. Mr. Carter did not oppose the motion.3

                                              DISCUSSION

        Defendants argue the Eleventh Amendment immunizes the Maine State Police and

Mr. Silk (in his official capacity) against suits for damages. Defendants also argue the

Court should abstain from exercising its jurisdiction to resolve remaining claims against

Mr. Silk under Younger v. Harris, 401 U.S. 37 (1971). The Court addresses each argument

in turn.

                                      I.    Sovereign Immunity4

        The Eleventh Amendment prohibits federal courts from entertaining suits against

a state unless the state consents or waives its immunity. U.S. Const. amend. XI;

Coggeshall v. Mass. Bd. of Registration of Psychologists, 604 F.3d 658, 662 (1st Cir.

2010). Eleventh Amendment immunity extends to any arm of the state government,

including agencies and individual employees acting in their official capacity. Id.

Moreover, “[s]tates and their agencies are entitled to sovereign immunity ‘regardless of

the relief sought,’” monetary or equitable. Poirier v. Mass. Dep’t of Correction, 558 F.3d

92, 97 (1st Cir. 2009) (quoting Kentucky v. Graham, 473 U.S. 159, 167 n.14 (1985). If the

state has declined to waive immunity or consent to suit, a plaintiff may obtain relief only




3 Though District of Maine Local Rule 7(b) deems objections waived if not filed within 21 days of a motion,

“the mere fact that a motion to dismiss is unopposed does not relieve the district court of the obligation to
examine the complaint itself to see whether it is formally sufficient to state a claim.” Vega-Encarnacion v.
Babilonia, 344 F.3d 37, 41 (1st Cir. 2003).
4 Because sovereign immunity is a jurisdictional issue and the relevant facts (in this case, the identity of

Defendants) are undisputed, the Court “must credit the plaintiff’s well-pleaded factual allegations . . . , draw
all reasonable inferences from them in [his] favor, and dispose of the challenge accordingly.” Valentin v.
Hosp. Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001).


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against an official-capacity state actor through the Ex parte Young exception, which

allows plaintiffs to sue for prospective injunctive relief to prevent a continuing violation

of federal law. 209 U.S. 123 (1908) (holding plaintiffs may sue state actors in their official

capacity for prospective injunctive relief).

        Maine has not consented to suit. 14 M.R.S.A. § 8118 (“Nothing in this chapter or

any other provision of state law shall be construed to waive the rights and protections of

the State under the Eleventh Amendment . . . .”). Maine’s retained sovereign immunity

covers the MSP, which is an arm of the state government. Parent v. U.S. Customs &

Border Prot., No. 11-CV-295, 2012 WL 2567141, at *7 (D. Me. July 2, 2012). Therefore,

Mr. Carter’s claims against MSP must be dismissed.

        As an MSP employee, Mr. Silk enjoys the same protections as the state itself when

sued in his official capacity. Coggeshall, 604 F.3d at 662. Mr. Carter cannot skirt Mr.

Silk’s official-capacity immunity through the Ex parte Young exception because the

exception applies only when a plaintiff seeks prospective injunctive relief “to prevent a

continuing violation of federal law.” Green v. Mansour, 474 U.S. 64, 68 (1985). The

exception “does not permit judgments against state officers declaring that they violated

federal law in the past.” P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.

139, 146 (1993).

        Mr. Carter levies three claims against Mr. Silk, and none of them satisfy Ex parte

Young.5 First, Mr. Carter seeks a declaratory judgment that Mr. Silk used excessive force.


5 Mr. Carter did not state explicitly whether he sued Mr. Silk in his official or individual capacity. “[C]ourts

are not limited by the presence or absence of language identifying capacity to suit on the face of the
complaint alone.” Powell v. Alexander, 391 F.3d 1, 22 (1st Cir. 2004). Instead, courts typically apply the
“course of proceedings” test and examine the substance of the pleadings to determine the nature of the
claims. Id. Here, Mr. Carter seeks punitive damages, which may be sought only against government officials
in their individual capacity. Id. at 23. But (liberally construing Mr. Carter’s pleading) he also seeks


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Second, Mr. Carter seeks an injunction ordering Mr. Silk to resign from the MSP. Third,

Mr. Carter seeks compensatory and punitive damages.

        A declaratory judgment that Mr. Silk used excessive force nearly two years ago is

not “prospective” injunctive relief. Green, 474 U.S. at 68. The Eleventh Amendment

therefore bars the Court from issuing such a plain “declar[ation] that [a state officer]

violated federal law in the past.” P.R. Aqueduct, 506 U.S. at 146; cf. Verizon Md., Inc. v.

Pub. Serv. Comm’n of Md., 535 U.S. 635, 646 (2002) (allowing suit for declaratory relief

under Ex parte Young because plaintiffs sought “a declaration of the past, as well as the

future” legality of the defendants’ actions).

        An injunction ordering Mr. Silk to resign from the MSP similarly is barred because

it would not “prevent a continuing violation of federal law.” Green, 474 U.S. at 68. Rather,

it appears Mr. Carter seeks Mr. Silk’s resignation as a punitive remedy for Mr. Silk’s

alleged violation of Mr. Carter’s rights. Mr. Carter has not alleged any continuing violation

of federal law. Id. Moreover, directing a state official to resign would be inconsistent with

Ex parte Young’s “limited” application to situations where a “federal court commands a

state official to do nothing more than refrain from violating federal law.” Va. Off. for Prot.

& Advoc. v. Stewart, 563 U.S. 247, 255 (2011).

        Finally, damages against Mr. Silk in his official capacity are squarely barred by the

Eleventh Amendment. Caisse v. DuBois, 346 F.3d 213, 218 (1st Cir. 2003). For these

reasons, the Court will dismiss all official-capacity claims against Mr. Silk.




declaratory relief, which hints at an official-capacity claim under the Ex parte Young exception. Moreover,
Defendants’ motion to dismiss indicates they treated Mr. Carter’s suit as alleging both official and
individual-capacity claims. ECF No. 13 (raising Eleventh Amendment defense to official-capacity claims
and qualified immunity defense to individual-capacity claims). Therefore, the Court treats Mr. Carter’s
Complaint as bringing both official and individual-capacity claims against Mr. Silk.

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                              II.    Younger Abstention

       Federal courts, absent unusual circumstances, cannot interfere with pending state

criminal prosecutions. Younger v. Harris, 401 U.S. 37, 43–45 (1971). Therefore, federal

courts typically abstain from hearing cases whose resolution would hinder a state

proceeding until the state proceeding concludes. “Abstention is appropriate when the

requested relief would interfere (1) with an ongoing state judicial proceeding; (2) that

implicates an important state interest; and (3) that provides an adequate opportunity for

the federal plaintiff to advance his federal constitutional challenge.” Rossi v. Gemma, 489

F.3d 26, 34–35 (1st Cir. 2007). The third factor is not dispositive, however. The First

Circuit has held Younger abstention is appropriate even when a plaintiff seeks money

damages, which are not usually available in state criminal proceedings. Kyricopoulos v.

Town of Orleans, 967 F.2d 14, 16 n.1 (1st Cir. 1992).

       Mr. Carter was prosecuted for the conduct leading to his arrest. According to

Defendants, on January 23, 2025, a jury found Mr. Carter guilty of aggravated attempted

murder, elevated aggravated assault, kidnapping, and aggravated assault. ECF No. 14 at

1. He has not yet been sentenced. Therefore, Mr. Carter’s state judicial proceeding is

“ongoing.” Rossi, 489 F.3d at 34. And the state of Maine has an interest in running its

own prosecutions free from federal interference. See Juidice v. Vail, 430 U.S. 327, 335

(1977) (noting state’s “interest in the enforcement of its criminal laws”). Therefore, the

first two factors suggest abstention is appropriate.

       The third factor goes the other way. Mr. Carter’s sole damages claim against Mr.

Silk rests on an allegation that Mr. Silk used excessive force while arresting Mr. Carter. A

state criminal proceeding does not usually provide “an adequate opportunity” to advance

excessive force claims. Rossi, 489 F.3d at 34. An officer’s use of excessive force during an

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arrest is not a defense to most crimes.6 Nor can a state criminal defendant invoke

excessive force to trigger the exclusionary rule. United States v. Garcia-Hernandez, 659

F.3d 108, 114 (1st Cir. 2011). Moreover, as one district court explained, “even if [the

plaintiff] were found guilty of attempted murder, [the defendant police officer’s] use of

force after the alleged attempted murder could still be determined by a jury to be

constitutionally excessive.” Scheuerman v. City of Huntsville, Ala., 373 F. Supp. 2d 1251,

1256 (N.D. Ala. 2005); see also Soriano v. Town of Cicero, No. 04 C 2774, 2004 WL

2966967, at *2 (N.D. Ill. Nov. 22, 2004) (declining to abstain where criminal prosecution

“deal[s] with Plaintiff’s conduct before he was injured” by the allegedly excessive force).

        Still, the Court finds abstention is warranted here. The only description of the

circumstances of Mr. Carter’s arrest comes from an exhibit attached to Mr. Carter’s

Complaint. ECF No. 1-2. Assuming that description is true, as the Court must at this stage,

it appears Mr. Silk’s use of excessive force coincides with the conduct leading to Mr.

Carter’s conviction. Therefore, “it is not impossible that circumstances might arise” where

Mr. Carter could use some aspect of a judgment in this case “to obtain his release from,

or prevent, his incarceration.” Guerro v. Mulhearn, 498 F.2d 1249, 1253 (1st Cir. 1974).

        Allowing Mr. Carter’s claims to proceed risks violating “Younger’s obvious policy:

‘[T]o permit state courts to try state cases free from interference by federal courts.’”

United Books, Inc. v. Conte, 739 F.2d 30, 33 (1st Cir. 1984) (quoting Younger, 401 U.S. at

43)). The specter of a pending federal court case with even arguable bearing on the state




6 In limited circumstances, such as when a defendant is charged with resisting arrest, the elements of an

excessive force claim may intertwine with the elements of the crime and abstention is warranted. See Boothe
v. Sherman, 66 F. Supp. 3d 1069, 1074 (N.D. Ill. 2014) (abstaining under Younger where plaintiff was
charged with resisting arrest); Bullard v. Gonzalez, No. 15-60038, 2015 WL 13831711, at *6 (S.D. Fla. Aug.
31, 2015) (“The issue of excessive force may be presented in Plaintiff's defense to state criminal charges.”).

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court prosecution would hang over Mr. Carter’s sentencing. Therefore, the Court finds

abstention on Mr. Carter’s damages claims against Mr. Silk in his individual capacity is

warranted.

       A court abstaining from hearing a damages action on Younger grounds must enter

a stay rather than dismiss the case pending resolution of the state judicial procedure.

Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 730 (1996) (“[W]e have permitted federal

courts applying abstention principles in damages actions to enter a stay, but we have not

permitted them to dismiss the action altogether.”); see also Deakins v. Monaghan, 484

U.S. 193, 202 (1988). The Court will therefore stay further proceedings on the remaining

claims against Mr. Silk pending final resolution of Mr. Carter’s state proceedings.

                                    CONCLUSION

       For the foregoing reasons, the Court GRANTS IN PART Defendants’ motion to

dismiss to the extent it seeks dismissal of all claims against MSP and official-capacity

claims against Mr. Silk. The Court DENIES IN PART Defendants’ motion to dismiss to

the extent it seeks dismissal of personal-capacity damages claims against Mr. Silk, with

leave to refile when the stay is lifted. The Court STAYS the case pending resolution of

Mr. Carter’s state proceedings. The Court ORDERS Mr. Carter to file a status report by

May 9, 2025, or within 21 days of final resolution of his state proceedings, whichever is

earlier.

       SO ORDERED.

       Dated this 10th day of March, 2025.


                                                       /s/ Stacey D. Neumann
                                                       U.S. DISTRICT JUDGE



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